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                 
                                                    UNITED STATES DISTRICT COURT
                 
                                    NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                 
                         WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA
                 
                                       Plaintiff,                      DECLARATION OF FELIPE
                                                                    CORREDOR IN SUPPORT OF
                              vs.                                      DEFENDANTS UBER TECHNOLOGIES,
                                                                    INC. AND OTTOMOTTO LLC’S
                     UBER TECHNOLOGIES, INC.;                          ADMINISTRATIVE MOTION TO FILE
                  OTTOMOTTO LLC; OTTO TRUCKING                      UNDER SEAL PORTIONS OF THEIR
                     LLC,                                              MOTION FOR SUMMARY JUDGMENT,
                                                                    MOTION TO STRIKE TS 96, AND
                               Defendants.                             DAUBERT MOTION
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01980-00104/9552501.1                                                                     CASE NO. 3:17-cv-00939-WHA
                                                    CORREDOR DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO SEAL
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                  1 I, Felipe Corredor, declare as follows:

                  2          1.      I am an attorney licensed to practice in the State of California and am admitted to

                  3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

                  4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

                  5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

                  6          2.      I make this declaration in support of Defendants Uber Technologies, Inc. and

                  7 Ottomotto, LLC’s Administrative Motion to File Under Portions of Their Motion for Summary

                  8 Judgment, Motion to Strike TS 96, and Daubert Motion (the “Administrative Motion”). The

                  9 Administrative Motion seeks an order sealing highlighted portions of Uber’s Motion for Summary

                 10 Judgment, Motion to Strike TS 96, and Daubert Motion (“Uber’s Motion”) and Exhibit 2 to the

                 11 Declaration of Esther Chang, as well as the entirety of Exhibit 1 thereto.

                 12          3.      The portions of Uber’s Motion marked in red boxes, the entirety of Exhibit 1, and the

                 13 green highlighted portions of Exhibit 2, contain or refer to trade secret information, which Waymo

                 14 seeks to seal.

                 15          4.      Uber’s Motion (portions marked in red boxes in version filed herewith), Exhibit 1

                 16 (entire document) and Exhibit 2 (green highlighted portions) contain, reference, and/or describe

                 17 Waymo’s asserted trade secrets or information that, from context, tends to disclose Waymo’s asserted

                 18 secrets. The information Waymo seeks to seal includes the confidential design and functionality of
                 19 Waymo’s proprietary autonomous vehicle system, including its LiDAR designs, which Waymo

                 20 maintains as secret. I understand that these trade secrets are maintained as secret by Waymo (Dkt. 25-

                 21 47) and that the trade secrets are valuable to Waymo’s business (Dkt. 25-31). The public disclosure of

                 22 this information would give Waymo’s competitors access to descriptions of the functionality or

                 23 features of Waymo’s autonomous vehicle system. If such information were made public, I understand

                 24 that Waymo’s competitive standing would be significantly harmed.

                 25          5.      Waymo’s request to seal is narrowly tailored to those portions of Uber’s Motion and

                 26 Exhibits 1 and 2 that merit sealing.
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                                                     CORREDOR DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO SEAL
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                  1          I declare under penalty of perjury under the laws of the State of California and the United

                  2 States of America that the foregoing is true and correct, and that this declaration was executed in San

                  3 Francisco, California, on September 15, 2017.

                  4                                                 By /s/ Felipe Corredor
                                                                       Felipe Corredor
                  5                                                    Attorneys for WAYMO LLC
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                  8                                            ATTESTATION

                  9          In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
                 10 document has been obtained from Felipe Corredor.

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                 12                                                       By: /s/ Charles K. Verhoeven
                                                                               Charles K. Verhoeven
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                                                     CORREDOR DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO SEAL
